       Case 2:13-cr-06052-RHW                                      ECF No. 135   filed 01/28/14   PageID.492 Page 1 of 2



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 7                                              UNITED STATES DISTRICT COURT
                                               EASTERN DISTRICT OF WASHINGTON
 8
 9     UNITED STATES OF AMERICA,
10                        Plaintiff,                                              No. CR-13-6051-RHW-1
                                                                                      CR-13-6052-RHW-3
11                        v.
12     KENNETH JAMES FRENCH,                                                      ORDER DISMISSING
                                                                                  INDICTMENTS AS TO
13                        Defendant.                                              DEFENDANT KENNETH JAMES
                                                                                  FRENCH
14
15                 Before the Court are the Government’s Motions to Dismiss Indictment as to
16   Defendant Kenneth James French, Case No. CR-13-6051-RHW-1, ECF No. 117;
17   and Case No. CR-13-6052-RHW-3, ECF No. 130. These motions were heard
18   without oral argument. The Government seeks voluntary dismissal of the
19   Indictment in this case under Fed. R. Crim. P. 48(a), after the death of Defendant
20   on January 2, 2014. Although the Government seeks dismissal without prejudice,
21   the Court agrees with Defense Counsel that the above-captioned matter should be
22   dismissed with prejudice. The Court makes no judgment as to merit or wisdom of
23   this dismissal.
24                 Accordingly, IT IS HEREBY ORDERED:
25                 1. The Government’s Motions to Dismiss Indictment as to Defendant
26   Kenneth James French, Case No. CR-13-6051-RHW-1, ECF No. 117, and Case
27   No. CR-13-6052-RHW-3, ECF No. 130, are GRANTED. The Indictment in the
28   ORDER DISMISSING INDICTMENTS
     AS TO DEFENDANT KENNETH JAMES FRENCH * 1
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 1   above-captioned matters, as to Defendant Kenneth James French, is dismissed
 2   with prejudice.
 3                 2. All deadlines and hearings as to Defendant Kenneth James French are
 4   STRICKEN.
 5                 3. All pending motions as to Defendant Kenneth James French in Case No.
 6   CR-13-6051-RHW-1, ECF Nos. 60, 108, and 111; and Case No. CR-13-6052-
 7   RHW-3, ECF Nos. 72, 121, and 125, are DENIED as moot.
 8                 IT IS SO ORDERED. The District Court Executive is directed to enter this
 9   Order, forward copies to counsel.
10                 DATED this 28th day of January, 2014.
11
12                                                               s/Robert H. Whaley
                                                               ROBERT H. WHALEY
13                                                        Senior United States District Judge
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28   ORDER DISMISSING INDICTMENTS
     AS TO DEFENDANT KENNETH JAMES FRENCH * 2
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